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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION
    ________________________________________
    In re:                                         )     Chapter 11
                                                   )
    Montrose Multifamily Members, LLC, et al.1     )     Case No. 22-90323
                                                   )
             Debtors.                              )     Jointly Administered
                                                   )
    ________________________________________ )
                          DEBTOR’S WITNESS AND EXHIBIT LIST
                                     (Nos. 16,17,18, 19)

    WITNESSES:
    1) Christopher Bran, Manager of Bran             Judge: David R. Jones
    Enterprises as manager of the Debtors
    2) Jeremy Bran, corporate representative         Hearing Date: October 18, 2022
    for the Debtors                                  Hearing Time: 1:00 p.m. (Prevailing
                                                     Central Time)
                                                     Party’s Name: Montrose Multifamily
                                                     Members, LLC et al.
                                                     Attorneys for Debtor:
                                                     Susan Tran Adams and Brendon Singh
                                                     Nature of Proceeding(s):
                                                             1.Emergency Motion for (I) Interim
                                                             Use of Cash Collateral Pursuant to
                                                             11 U.S.C. § 363(c), (II) Granting
                                                             Adequate Protection for the Use of
                                                             Cash Collateral and (III) Scheduling
                                                             a Final Hearing Pursuant to
                                                             Bankruptcy Rule 4001 As to the Use
                                                             of Cash Collateral [Dkt. No. 16]
                                                             2. Emergency Motion of Debtors for
                                                             Entry of an Order Extending Time to
                                                             File Schedules and Statements of
                                                             Financial Affairs [Dkt. No. 17]
                                                             3. Emergency Motion for Order (I)
                                                             Prohibiting Utility Companies from
                                                             Altering, Refusing, or Discontinuing

1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Montrose Multifamily Members II, LLC (5725); Colquitt 2008, LP (6108); Westmoreland
Partners, LLC (1492); Graustark Members II, LLC (1605); Kipling Partners LLC (2339); MT Vernon Members, LLC
(5014); and Norfolk Partners LLC (3182). The location of Debtor Montrose Multifamily Members, LLC’s principal
place of business and the Debtors’ service address is 4203 Montrose Blvd, Suite 400, Houston, Texas, 77006.
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                                              Service and (II) Establishing
                                             Procedures      for    Determining
                                             Requests for Additional Members,
                                             LLC [Dkt. No. 18]
                                             4. the Emergency Motion for Order
                                             Authorizing the Continued Use of
                                             Existing (I) Cash Management
                                             System and (II) Bank Accounts [Dkt.
                                             No. 19]




Ex.   Description               Offered   Objection Admitted/Not    Disposition
#
1     Interim Budget

2     Utility Provider List

3     Summary of Depository
      Accounts
4     Withdrawal by Alleged
      Receiver


      Dated: October 17, 2022

                                    Respectfully submitted,

                                     TRAN SINGH LLP

                                By: /s/Susan Tran Adams
                                    Susan Tran Adams | TBN: 24075648
                                    Brendon Singh | TBN: 24075646
                                    2502 La Branch St
                                    Houston, Texas 77004
                                    Ph: (832) 975-7300
                                    Fax: (832) 975-7301
                                    STran@ts-llp.com

                                    Proposed Counsel for Debtor and Debtor and
                                    Possession
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 17, 2022 a true and correct copy of the foregoing document
was served via the Court’s ECF System on all parties requesting notice in this proceeding.

                                             By: /s/ Susan Tran Adams
                                               Susan Tran Adams


                   VERIFICATION OF TRANSMITTAL TO U.S. TRUSTEE

    The undersigned, an attorney, under penalties of perjury, verifies that a copy of the Motion
was delivered to the United States Trustee on October 17, 2022, by electronic delivery by the clerk
of the Bankruptcy Court.

                                             By: /s/ Susan Tran Adams
                                               Susan Tran Adams
